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      SYSTEMS, LLC
12
13                          UNITED STATES DISTRICT COURT
14           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
15
16    TRACI WOLBERT,                  )           CASE NO. CV-8:15-cv-00550-JLS-RNB
                                      )
17             Plaintiff,             )           [Assigned to the Hon. Josephine L. Staton,
                                      )           Courtroom 10A ; Magistrate Judge Robert
18        vs.                         )           N. Block, Courtroom 6D]
                                      )
19    QUALITY SYSTEMS, INC. NEXTGEN )             DEFENDANTS’ CERTIFICATION
      HEALTHCARE INFORMATION          )           AND NOTICE OF INTERESTED
20    SYSTEMS, and DOES 1 through 10, )           PARTIES (L.R. 7.1-1)
      INCLUSIVE,                      )
21                                    )           [Filed Concurrently with Defendants’
                                      )           Corporate Disclosure Statement]
22             Defendants.            )
                                      )
23                                    )
                                      )
24                                    )           Complaint Filed: April 8, 2015
                                      )           FAC Filed: May 4, 2015
25                                    )
                                      )
26    ///
27    ///
28    ///


      CV-8:15-cv-00550-JLS-RNB                1    DEFENDANTS’ CERTIFICATION AND NOTICE
                                                         OF INTERESTED PARTIES (L.R. 7.1-1)
     Case 8:15-cv-00550-JLS-RNB Document 21 Filed 08/31/15 Page 2 of 4 Page ID #:117


 1          TO THE HONORABLE COURT AND TO ALL INTERESTED PARTIES
 2    AND THEIR ATTORNEYS OF RECORD:
 3          Pursuant to Rules 7.1 and 7.1-1 of the Central District Court of California’s Local
 4    Civil Rules, the undersigned, counsel of record for Defendants QUALITY SYSTEMS,
 5    INC. and NEXTGEN HEALTHCARE INFORMATION SYSTEMS, LLC, certifies that
 6    the following listed party (or parties) may have a pecuniary interest in the outcome of this
 7    case, including any insurance carrier that may be liable in whole or in part (directly or
 8    indirectly) for a judgment in the action or for the cost of defense. These representations
 9    are made to enable the Court to evaluate possible disqualification or recusal.
10          NAME                                       CONNECTION / INTEREST
11          Quality Systems, Inc.                                  Defendant
12          Nextgen Healthcare Information Systems, LLC            Defendant
13          CNA Insurance                                          Insurance carrier
14
15    Dated: August 31, 2015                 JACKSON LEWIS P.C.
16
17                                           By:       /s/ Andrew D. La Fiura
                                                       Andrew D. La Fiura
18                                                     Jared L. Bryan
19                                                     Vandana Kapur

20                                           Attorneys for Defendants
                                             QUALITY SYSTEMS, INC. and NEXTGEN
21                                           HEALTHCARE INFORMATION SYSTEMS,
                                             LLC
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      CV-8:15-cv-00550-JLS-RNB                     2     DEFENDANTS’ CERTIFICATION AND NOTICE
                                                               OF INTERESTED PARTIES (L.R. 7.1-1)
     Case 8:15-cv-00550-JLS-RNB Document 21 Filed 08/31/15 Page 3 of 4 Page ID #:118


 1                                CERTIFICATE OF SERVICE
 2    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
 3    CASE NAME:         TRACI WOLBERT vs. QUALITY SYSTEMS, INC., ET AL.
 4    CASE NUMBER: CV-8:15-cv-00550-JLS-RNB
 5          I am employed in the County of ORANGE, State of California. I am over the age
      of 18 and not a party to the within action; my business address is 5000 Birch Street, Suite
 6
      5000, Newport Beach, CA 92660.
 7
            On August 31, 2015, I served following document(s) described as:
 8
 9     DEFENDANTS’ CERTIFICATION AND NOTICE OF INTERESTED PARTIES
                               (L.R. 7.1-1)
10
11    on the parties in this action listed below in the manner designated below:
12                         PLEASE SEE ATTACHED SERVICE LIST
13
           BY NOTICE OF ELECTRONIC FILING. The above-listed counsel have
14
      consented to electronic service and have been automatically served by the Notice of
15    Electronic Filing, which is automatically generated by CM/ECF at the time said
      document was filed, and which constitutes service pursuant to FRCP 5(b)(2)(D).
16
17         FEDERAL I declare under penalty of perjury under the laws of the State of
      California and the United States that the foregoing is true and correct, and that I am
18    employed in the office of a member of the bar of this Court at whose direction the service
19    was made.
20          Executed on August 31, 2015, at Newport Beach, California.
21
22                                                              /s/ Lisa Uyesugi
23                                                        Lisa Uyesugi

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      CV-8:15-cv-00550-JLS-RNB                    3   DEFENDANTS’ CERTIFICATION AND NOTICE
                                                            OF INTERESTED PARTIES (L.R. 7.1-1)
     Case 8:15-cv-00550-JLS-RNB Document 21 Filed 08/31/15 Page 4 of 4 Page ID #:119


 1                                     SERVICE LIST
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 7    Patricia V. Pierce, Esq.                    Co-Counsel for Plaintiff,
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      AND FLORES
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      CV-8:15-cv-00550-JLS-RNB                4   DEFENDANTS’ CERTIFICATION AND NOTICE
                                                        OF INTERESTED PARTIES (L.R. 7.1-1)
